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 8                                  UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                         No. 2:03-cr-0042-MCE-EFB P
12                        Respondent,
13             v.                                        ORDER
14     JASON KEITH WALKER,
15                        Movant.
16
17            Movant, a federal prisoner, has filed a motion to vacate, set aside, or correct his sentence

18    pursuant to 28 U.S.C. § 2255. The matter was referred to a United States Magistrate Judge

19    pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20            On August 10, 2017, the magistrate judge filed findings and recommendations herein

21    which were served on all parties and which contained notice to all parties that any objections to

22    the findings and recommendations were to be filed within fourteen days. Movant has filed

23    objections to the findings and recommendations and respondent has filed a response thereto.

24            In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25    Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26    Court finds the findings and recommendations to be supported by the record and by proper

27    analysis.

28    /////
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     Case 2:03-cr-00042-MCE-EFB Document 1225 Filed 06/15/18 Page 2 of 2


 1          Accordingly, IT IS HEREBY ORDERED that:
 2          1. The findings and recommendations filed August 10, 2017, are ADOPTED in full;

 3          2. Walker’s motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.
 4    § 2255 (ECF No. 1124) is DENIED; and
 5          3. The Clerk of the Court is directed to close the companion civil case, No. 2:12-cv-
 6    00393-MCE-EFB.
 7          IT IS SO ORDERED.
 8    Dated: June 13, 2018
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